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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Ethan Ostrow, et al.
                                Plaintiff,
v.                                                   Case No.: 1:24−cv−01877
                                                     Honorable Mary M. Rowland
Thomas J. Dart, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 25, 2024:


        MINUTE entry before the Honorable Mary M. Rowland: Defendant Dart's motion
for extension of time to file a response [11] is granted. Defendant shall answer the
complaint or file a responsive pleading by 4/17/24. Mailed notice. (dm, )




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